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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                             CASE NO. 19-50433-KMS

KENEKA GARRISON
DEBTOR                                                                            CHAPTER 7


KIMBERLY R. LENTZ, AS CHAPTER 7 TRUSTEE FOR
THE BANKRUPTCY ESTATE OF
KENEKA M. GARRISON, DEBTOR                                                        PLAINTIFF

       vs.                                                 ADV. PROC. NO. 19-06037-KMS

THE LAW OFFICES OF ROBERT S. GITMEID                                            DEFENDANT


                          NOTICE OF SERVICE OF DISCOVERY

       Notice is hereby given that Plaintiff, Kimberly R. Lentz, Chapter 7 Trustee for the

Bankruptcy Estate of Keneka M. Garrison, has this date served in the above entitled action the

following discovery:

       1. Plaintiff’s Responses to the Request for Admissions to The Law Offices of Robert S.

Gitmeid & Associates, PLLC.

                              This the 14th day of August 2020.

                              Respectfully submitted,


                              /s/Jason Graeber.
                              Jason Graeber Attorney for Trustee, Kimberly R. Lentz
                              2496 Pass Road
                              Biloxi, Mississippi 39531
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                                 CERTIFICATE OF SERVICE

         I, Jason Graeber, attorney for the Trustee, do hereby certify that I electronically filed a
notice of discovery with the Court via the ECF system, which provides notification of said filing
to all counsel of record.

                                                      /s/Jason Graeber     .
                                                      Jason Graeber



       Dated, this 14th day of August 2020.




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